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 AO 442 (Rev. 11111) Arrest Warrant




                                                 UNITED STATES DISTRICT COURT
                                                                           for the

                                                                District of Columbia

                       United States of America
                                     v.
                                                                             )    Case: 1:24-mj-00020
                   Michael Gerard Fournier                                  j Assigned To: Judge Moxila.A. Upadhyaya
                                                                            ) Assign. Date .:01119/2024
                                                                            ) Oescfiiption: COMPLAINT W/ARREST WARRANT
                                                                            )
                                 Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                Michael Gerard Fournier
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information CI Superseding Information                                        N Complaint
o Probation Violation Petition    o Supervised Release Violation Petition o Violation Notice                                       0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
  18 U.S.c. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restrict Building or Grounds;;
  40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds; and;
   40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Buidling.

Date: --~~~~--
          01119/2024
                                                                                                     (/1d. (fed---
                                                                                                     Issuing officer's signature

City and state:                      Washington, D.C.                                 Moxila A. Upadhyaya,         U.S. Magistrate Judge
                                                                                                      Printed name and title


                                                                       Return

           This warrant was received on (date)          Iq JAN 2--01..Lt         , and the person was arrested on (date)           7..7.-..1 AN   202.'"1
at (city and state)       Po r-\-lo   Mb  f\(~




Date:    'l-7... JAN      '2.-02.4




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